Case 2:21-mc-01230-JFC   Document 3192-1   Filed 03/04/25   Page 1 of 6




                         Exhibit A
Case 2:21-mc-01230-JFC   Document 3192-1   Filed 03/04/25   Page 2 of 6
Case 2:21-mc-01230-JFC   Document 3192-1   Filed 03/04/25   Page 3 of 6
Case 2:21-mc-01230-JFC   Document 3192-1   Filed 03/04/25   Page 4 of 6
Case 2:21-mc-01230-JFC   Document 3192-1   Filed 03/04/25   Page 5 of 6
Case 2:21-mc-01230-JFC   Document 3192-1   Filed 03/04/25   Page 6 of 6
